Case 2:24-cv-00031-RJS-CMR         Document 44      Filed 05/31/24    PageID.243        Page 1
                                         of 5




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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

    HANNAH PAISLEY ZOULEK, a Utah                     DECLARATION OF AMBIKA
    resident; JESSICA CHRISTENSEN, a Utah             KUMAR IN SUPPORT OF MOTION
    resident; LU ANN COOPER, a Utah resident;         FOR PRELIMINARY INJUNCTION
    M.C., a Utah resident, by and through her
    parent, LU ANN COOPER; VAL SNOW, a                Case No. 2:24-cv-00031-DAK-DAO
    Utah resident; and UTAH YOUTH
    ENVIRONMENTAL SOLUTIONS, a Utah                   Judge Dale A. Kimball
    association,
                                                      Magistrate Judge Daphne A. Oberg
                             Plaintiffs,
    v.
    KATIE HASS, in her official capacity as
    Director of the Utah Division of Consumer
    Protection; SEAN REYES, in his official
    capacity as Utah Attorney General,
                             Defendants.
Case 2:24-cv-00031-RJS-CMR             Document 44       Filed 05/31/24        PageID.244        Page 2
                                             of 5



   I, Ambika Kumar, declare as follows:

           1.      I am a partner in the law firm Davis Wright Tremaine LLP, have been

   admitted pro hac vice to practice before this Court, and am counsel for Plaintiffs in this

   matter. I make this declaration from personal knowledge and a review of the files and

   records in this matter.

           2.      Attached as Exhibit 1 is a true and correct copy of the following article

   attributed to Susan Laborde and published on TechReport.com on October 13, 2023:

   Teenage      Social         Media   Usage      Statistics    in     2023,      available       at

   https://techreport.com/statistics/teenage-use-of-social-media-statistics/.       My        office

   obtained a copy of this article as well as the remaining exhibits to my declaration by visiting

   the websites listed in each paragraph. In addition, my office has omitted extraneous pages

   following this article. .

           3.      Attached as Exhibit 2 is a true and correct copy of the following article

   attributed to Jessica Hamilton, Jacqueline Nesi, and Sophia Choukas-Bradley and

   published in the Perspectives on Psychological Science journal on May 17, 2022: Re-

   examining adolescent social media use and socioemotional well-being through the lens of

   the COVID-19 pandemic: A theoretical review and directions for future research, available

   at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9081105/#R21.

           4.      Attached as Exhibit 3 is a true and correct copy of the Department of Health

   & Human Services’ U.S. Surgeon General’s Advisory: Social Media and Youth Mental

   Health, available at https://www.hhs.gov/sites/default/files/sg-youth-mental-health-social-

   media-advisory.pdf.




                                                 2
Case 2:24-cv-00031-RJS-CMR               Document 44         Filed 05/31/24       PageID.245         Page 3
                                               of 5



          5.       Attached as Exhibit 4 is a true and correct copy of Meta’s June 14, 2022

   press release (updated September 14, 2022), titled New Tools and Resources for Parents

   and Teens in VR and on Instagram, available at https://about.fb.com/news/2022/06/tools-

   for-parents-teens-vr-and-instagram/.

          6.       Attached as Exhibit 5 is a true and correct copy of Snapchat’s Support

   website      describing    Tools       and    Resources        for     Parents,      available    at

   https://parents.snapchat.com/parental-controls.

          7.       Attached as Exhibit 6 is a true and correct copy of Apple’s Support website:

   Use   Screen     Time     on    your    iPhone,       iPad,   or     iPod   touch,    available   at

   https://support.apple.com/en-us/108806.

          8.       Attached as Exhibit 7 is a true and correct copy of Google’s Support

   website:       Manage          your      child’s         screen        time,      available       at

   https://support.google.com/families/answer/7103340?hl=en.

          9.       Attached as Exhibit 8 is a true and correct copy of the homepages of the

   following services:

                a. Aura, available at https://www.aura.com/;

                b. Family Keeper, available at https://lp2.reasonlabs.com/family-keeper-

                   parental-control-af-2/; and

                c. Bark, available at https://www.bark.us/.

          10.      Attached as Exhibit 9 is a true and correct copy of a certified transcript of

   the February 14, 2024 Utah House Judiciary Committee Hearing on HB464, as transcribed

   by TransPerfect, a vendor hired by my law firm.




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Case 2:24-cv-00031-RJS-CMR            Document 44         Filed 05/31/24       PageID.246        Page 4
                                            of 5



             11.    Attached as Exhibit 10 is a true and correct copy of Utah Senate Bill 194

   “Social         Media      Regulation        Amendments,”            also     available       at

   https://le.utah.gov/~2024/bills/static/SB0194.html.

             12.    Attached as Exhibit 11 is a true and correct copy of excerpts from the Utah

   State Bulletin, Vol. 23, No. 20 (Oct. 15, 2023).

             13.    Attached as Exhibit 12 is a true and correct copy of a May 3, 2024 Staff

   Memorandum        from    the   California   Privacy    Protection     Agency,    available   at

   https://cppa.ca.gov/meetings/materials/20240510_item3_ab1949_memo.pdf.

             14.    Attached as Exhibit 13 is a true and correct copy of the following article

   attributed to Taylor Barkley at the Utah State University Center for Growth Opportunity

   and published on February 1, 2023: Poll: Americans Don’t Want To Share Their Photo ID

   To Tweet, available at https://www.thecgo.org/benchmark/poll-americans-dont-want-to-

   share-their-photo-id-to-tweet/.

             15.    Attached as Exhibit 14 is a true and correct copy of the following Opinion

   paper by the United Kingdom Information Commissioner: Age Assurance for the

   Children’s       Code,    published     on     October      14,       2021,      available    at

   https://ico.org.uk/media/about-the-ico/documents/4018659/age-assurance-opinion-

   202110.pdf.

             16.    Attached as Exhibit 15 is a true and correct copy of the American

   Psychological Association’s article, Health Advisory on Social Media Use in Adolescence,

   published in May 2023, and available at https://www.apa.org/topics/social-media-

   internet/health-advisory-adolescent-social-media-use.




                                                 4
Case 2:24-cv-00031-RJS-CMR          Document 44        Filed 05/31/24      PageID.247   Page 5
                                          of 5



          I declare under penalty of perjury that the foregoing is true and correct.

   Signed in Seattle, Washington this 31st day of May, 2024.




                                                                        Ambika Kumar




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